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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MICHAEL J. DAUGHERTY,

Plaintiff,
                                            Civil Action File
v.                                          No.: ____________________

FEDERAL TRADE COMMISSION,
                                            Jury Trial Demanded
       Defendant.

                                COMPLAINT

      Plaintiff Michael J. Daugherty (“Daugherty”) brings this complaint against

the United States Federal Trade Commission pursuant to the Federal Tort Claims

Act (“FTCA"), 28 U.S.C. § 1346(b).

      Plaintiff has exhausted his administrative claims by filing the required

administrative claim form with the Defendant and having his administrative claims

denied. See Ex. A (Federal Trade Commission Form 95); Ex. B (Federal Trade

Commission Denial Letter).

                              INTRODUCTION

      This action seeks to recover damages from the Federal Trade Commission

(“FTC”) based on FTC employees’ intentional involvement in non-discretionary,

wrongful actions taken on behalf of the FTC, involving, at a minimum, the illegal

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exercise of the FTC’s investigative, prosecutorial and regulatory powers. These

actions were calculated to directly and proximately cause damage to Plaintiff.

Specifically, and despite the fact that Plaintiff’s company, LabMD, Inc., was in full

compliance with all relevant data-security and privacy laws the United States, the

FTC employees, without any substantial justification, willfully misused and

exceeded their legitimate regulatory authority to fabricate an illegal investigation of

LabMD and then engage it, with further illegal activity, in a protracted civil

prosecution based on illegally obtained and fraudulently presented information. The

FTC has continued its failure to acknowledge this illegal activity to the present time.

These wrongful and intentional actions resulted in severe damage to the Plaintiff,

including the financial hardship imposed by the FTC’s investigation and LabMD’s

civil prosecution, and the consequent destruction of his wholly owned business.

                         JURISDICTION AND VENUE

      1.     The Court has jurisdiction over this claim against the United States for

money damages pursuant to 28 U.S.C. § 1346(b)(1).

      2.     Plaintiff resides in the Northern District of Georgia. Venue is proper

under 28 U.S.C. § 1402(b).




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                                     PARTIES

      3.     Daugherty resides in Atlanta, Georgia. His address is 425 Broadland

Rd., N.W., Atlanta, GA 30342.

      4.     Daugherty is the sole owner and was the chief operating officer of

LabMD, Inc., (“LabMD”) a business corporation created under the laws of Georgia

and operating as a cutting-edge cancer detection laboratory serving over 750,000

customers.

      5.     Defendant is sued for damages resulting from the reputational and

financial destruction of LabMD. This occurred uniquely because of the wrongful

and intentional acts of certain employees of the FTC purporting to enforce the law

while acting on behalf of the United States. The FTC generally holds itself out to

the public as a “law enforcement” agency. The employees at the FTC involved in

this wrongful conduct were at all times complained of herein: (1) acting within the

non-discretionary scope of their employment with the United States; (2) purporting

to enforce the laws of the United States; (3) acting intentionally and knowingly with

regard to the exercise and misapplication of their regulatory authority to cause harm

to LabMD; and (3) would, if acting in their individual capacity, be liable for damages

to Plaintiff under Georgia law.




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                             FACTUAL SUMMARY

                         The Federal Trade Commission

      6.     The FTC is an independent agency of the United States government

whose principal mission in part is the promotion of consumer protection through

enforcement proceedings authorized by its statutory authority to investigate and

civilly prosecute alleged violations of the law through its enforcement authority. It

is outside the mission of the FTC to investigate and civilly prosecute alleged

violations of the law based on incomplete investigations, manufactured evidence,

knowledge that there is no violation of the law and that such prosecution is

intentionally executed with actions that are in derogation of the law. The FTC was

created under and exists by authority of the Federal Trade Commission Act, 15

U.S.C. §§ 41-58, as amended. All of the acts that are the subject of this complaint

were not within the discretion of the FTC or its employees.

                        Michael J. Daugherty and LabMD

      7.     Daugherty is the Founder and President of LabMD, a corporation

created under the laws of the State of Georgia in 1996 specializing in laboratory

diagnostic cancer testing. He was the President and Chief Executive Officer of

LabMD, and its sole shareholder, at all relevant times.




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      8.      LabMD could not continue its business as a going concern and was

forced to cease its active business operations in 2014 as a direct result of the

financial, business and reputational impact of the FTC’s initiating an investigation

of LabMD based solely on what it knew to be illegal evidence and subsequent

relentless litigation, in which the FTC continued to create illegal evidence and

misrepresent the good faith inception of its actions, known at all times to be solely

based on evidence illegally obtained or created and fraudulently presented.

      9.      As a result of the FTC’s baseless investigation and civil prosecution

based on false evidence that the FTC had fraudulently created at the inception and

at various stages out of thin air throughout the proceeding, LabMD was no longer

able to operate as a medical laboratory, but it continues today as a non-operating

entity under Georgia law that securely stores and protects its patient data in full

compliance with all relevant privacy and security laws.

                           Tiversa Holding Corporation

      10.     Tiversa Holding Corporation (“Tiversa”) was a Pennsylvania

corporation that at all relevant times purported to provide cyber- and data-security

services to the public. Tiversa’s owner, President and CEO was Robert Boback

(“Boback”).




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      11.    Prior to 2007, the U.S. Attorney for the Western District of

Pennsylvania had engaged Tiversa as a private entity to work with the Federal

Bureau of Investigation (“FBI”) to search for and obtain computer-based evidence

of child pornography for use in criminal prosecutions. At some point during

Tiversa’s engagement, FBI Agent Greg Frankhouser desired to boost Tiversa’s

ability to seek out such evidence and personally delivered to four Tiversa employees

proprietary software with enhanced internet search capabilities developed

exclusively for the FBI and for national security purposes. Tiversa was instructed

to use this software extensively to continue to search the internet for inculpatory

materials reflecting child pornography, access the suspect’s computer systems,

download the inculpatory files and turn those files over to the FBI.

      12.    To the public, Tiversa presented itself as a legitimate cyber-security

business with extraordinarily powerful internet search capabilities. However, the

tool they were using was the FBI’s.

      13.    In 2007 Boback testified before Congress on behalf of Tiversa as an

expert about peer-to-peer networks and touting Tiversa’s capabilities.

      14.    Two months after Tiversa came to the FTC’s attention because of

Boback’s testimony and Tiversa’s extensive publicity, Tiversa began working with




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the FTC which had requested that Tiversa provide information regarding private

companies’ data-security practices.

            MARY BETH BUCHANAN’S ROLE AS US ATTORNEY

      15.      Mary Beth Buchanan was the US Attorney for the Western District of

Pennsylvania, based in Pittsburg, from 2001 to 2009.

      16.      From her relationship with Tiversa as a vendor of services to the FBI

and the resulting data Boback supplied to her office through the FBI, Buchanan

gained a reputation as one of the country’s most aggressive child pornography

prosecutors.

      17.      Buchanan’s reputation was in part based on the work of Tiversa’s

employees, which included Richard Wallace (“Wallace”), a Tiversa employee from

2007 to 2014. Wallace worked concurrently on Tiversa as well as FBI projects.

      18.      Tiversa’s work was so important to Buchanan that she went so far as to

authorize the FBI to install a dedicated DSL line in Wallace’s home to allow him to

freely access and use the FBI’s proprietary surveillance software.

      19.      Following her time as U.S. Attorney, Buchanan joined the law firm

Bryan Cave LLP in New York, NY. In 2014, Wallace retained Buchanan to

represent him for the FTC’s administrative proceedings against LabMD.




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                    TIVERSA’S RACKETEERING SCHEME

      20.    By day Tiversa worked for the FBI under the cover of providing “data

security” services to the public. However, by night Tiversa misappropriated and

misused the FBI’s proprietary software for its own illegal “shakedown” enterprise.

Instead of using the software to exclusively search peer-to-peer networks for child

pornographers, as was the sole mission approved by the United States Attorney and

the FBI, Tiversa took advantage of the lax supervision of its use of the FBI software

and used it to illegally access private computers and computer networks to a) steal

secure data; b) contact the owner of the computers and networks it had hacked; c)

allege that they suffered a “data leak;” and d) offer Tiversa’s expensive cyber-

security and recovery services coupled to long-term monitoring of peer-to-peer

networks to “search” the internet for the information Tiversa knew it had stolen.

      21.    When a company rejected Boback’s overtures, Boback would retaliate

by passing the information along to the FTC. Likewise, the FTC would pass along

companies they were investigating so Tiversa would profit from this information via

offers of services, blackmail, and inuendo.

      22.    Central to its racketeering enterprise, Tiversa utilized its access to the

FBI proprietary software to, among other practices:




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      a.       access private computers and computer networks to illegally steal

secured data for use as evidence of a ‘data breach;’

      b.       modify the source address of the information it obtained with the FBI

software and create false Internet Protocol (IP) packets to either hide the identity of

the sender, impersonate another computer system or both,

      c.       hide Tiversa’s theft of data by making it appear that unauthorized

outside, and sometimes foreign entities were accessing and sharing secured

proprietary data which Tiversa had legally obtained with its own claimed proprietary

(but non-existent) software;

      d.       contact the owner of the computers and networks Tiversa had hacked,

allege that the stolen data had “leaked” onto the internet and offer Tiversa’s

expensive cyber-security and recovery services to monitor and remediate the

situation.

      23.      During his employment with Tiversa, Wallace was tasked by Boback

to work with the FBI software. Wallace’s parallel job was to steal, over the internet,

business and personal files not involved in child pornography. This theft was

directly from the innocent owners’ computers and the stolen data was then

manipulated to falsely infer that the files were circulating on the internet rather than

having come directly from the innocent parties’ computers where the files were

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stolen. The FTC had evidence at all relevant times that the LabMD file was taken

only from LabMD’s computer folder as early as 2009.

      24.    Wallace’s hacking, theft and metadata manipulation were the backbone

of Tiversa’s illegal shakedown enterprise. In addition to hacking LabMD and

thousands of corporations, Wallace accessed files from entities such as a government

contractor’s private network to steal the blueprints for the President Barak Obama’s

Marine One helicopter, manipulating the file to give the appearance that it had been

found on a computer in the Middle East. Boback also announced that Tiversa

“discovered” on the internet something that actually was what Wallace had accessed

-- US Supreme Court Justice Breyer’s personal and financial information . These

revelations created what Boback intended, i.e. national media attention on instances

of fraudulent computer vulnerabilities created by Tiversa all so that Tiversa could

enhance its reputation and increase its customer base.

        TIVERSA MEETS THE FTC AND FORMS A RELATIONSHIP

      25.    After Boback testified before Congress in 2007 about Tiversa’s cyber-

security and internet search capabilities, Mary Eaton, an attorney employed by the

FTC, contacted General Wesley Clark. Clark served on Tiversa’s Board and

Settlemyer evidenced interest in Tiversa’s seemingly unique and extraordinarily

powerful cyber and internet capabilities.

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      26.    Clark then introduced the FTC to Tiversa, at which point FTC staff

members began communicating directly with Tiversa, communicating frequently,

sometimes weekly, and discussing information available on P2P networks on the

internet.

      27.    Over time the relationship between Tiversa and the FTC grew as

Settlemyer and others at the FTC evidenced an eagerness to utilize Tiversa’s

technology and information gathering capabilities to identify targets for their own

civil investigations and resulting prosecutions.

      28.    Subsequent to the FTC staff’s visit t Tiversa’s facility in Pittsburgh,

Pennsylvania, the FTC began requesting information from Tiversa about secure or

confidential data “leaked” over the internet.

      29.    In March, 2009, Carl H. Settlemyer III (“Settlemyer”) introduced

Boback to Alain Sheer (“Sheer”), who was also an attorney employed by the FTC.

      30.    Shortly thereafter Ruth T. Yodaiken (“Yodaiken”), also an attorney

employed by the FTC, was introduced to Boback and from time to time introduced

Tiversa to the Washington Post newspaper, her former employer.

      31.    In the Spring, 2009, FTC personnel again met with Tiversa in

Pittsburgh and formally requested that Tiversa provide it with information about

companies whose data had “leaked” over the internet.

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      32.    Shortly after this meeting and reflecting the extent of interaction,

Wallace emailed a question to Sheer. Sheer responded by telling Wallace he should

never contact him again by any traceable means, including emails, FedEx deliveries

and faxes.

                     Creation of the Sham “Privacy Institute”

      33.    The FTC is empowered to compel evidence through its Civil

Investigation Demand (“CID”) subpoena which allows FTC investigators1 to access

the information relevant to an investigation. Before a Commission Investigator can

issue a CID, an FTC Commissioner must sign off on the request.

      34.    Settlemyer, Yodaiken and Sheer made it known to Boback they wished

to formalize their possession of information provided by Tiversa. They sought to

issue a CID to Tiversa pertaining to information Tiversa had provided for their

program of investigation and civil prosecution for businesses who provided unsecure

protection for their customers’ confidential information.        The FTC needed a

legitimate source to start the investigation and sought to justify and legitimize their

actions under cover of the CID.




1
 Settlemyer, Yodaiken, and Sheer, in their role as FTC Attorneys, were also acting
at all relevant times as FTC investigators of LabMD.
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      35.    Boback objected to Tiversa’s providing the information directly to the

FTC through a publicly available CID, expressing his need to conceal Tiversa’s

involvement as a source of information to the FTC for business purposes. In reality,

Boback was aware that the FTC was requesting information that Tiversa had

illegally obtained with the proprietary FBI software.

      36.    In response to Boback’s stated business “concern,” Settlemyer,

Yodaiken and Sheer devised a scheme that would allow them a legitimate “cover”

to obtain Tiversa’s information which it already possessed, and concurrently

completely mask Tiversa’s role in the matter without issuing a CID to Tiversa. To

conceal Tiversa as the source of its information, Boback, Settlemyer, Yodaiken and

Sheer together agreed

      (1) Boback and Tiversa would create a shell company, and;

      (2) the FTC would issue a CID to the “shell” company instead of to Tiversa;

      37.    Boback proceeded to create a shell company called “The Privacy

Institute” on June 3, 2009 and start to execute the scheme designed to circumvent

the problem of the FTC’s directly accessing documents from Tiversa.

      38.    The Privacy Institute had no legitimate business purpose. The only

“business activity” that took place was its acting as a shell intermediary to disguise

Tiversa’s transfer of stolen files to the FTC.

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      39.      Sheer and Yodaiken then expressed a further concern that an FTC

Commissioner would not approve their sweeping CID issued to The Privacy Institute

since Tiversa and The Privacy Institute were never the subject of a legitimate FTC

investigation. To further the scheme to cover up the source of its information and

ensure an FTC Commissioner’s approval, Sheer and Yodaiken included the names

of two companies already under FTC investigation––Rite-Aid and Walgreens––to

disguise the true nature of the CID and the scheme that supported their activities.

      40.      The FTC Commissioner who authorized and signed the CID would not

have done so had he been told the truth about the sham Privacy Institute, including

the fact that Sheer and Yodaiken had plans to investigate parties identified from the

Privacy Institute -- other than Rite-Aid and Walgreens -- despite the fact that such

parties identified from the Privacy Institute either had (1) in reality allowed no

disclosures or (2) involved no complaining witness, and (5) the information had no

originating source outside the companies which legitimately owned or held the

information.

THE FTC ORDERS MANIPULATION OF THE PRIVACY INSTITUTE DATA

      41.      Based on Boback’s characterization of Tiversa’s cyber capabilities,

Sheer, Yodaiken and Settlemyer expected that Tiversa would turn over to them

thousands of examples of private and confidential data held by corporations

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circulating freely on the Internet. They were surprised when Boback only provided

eighty six examples and also had notice of how Tiversa misrepresented the situation

to them.


      42.    Sheer, Yodaiken and Settlemyer further observed that the metadata on

the data provided by Tiversa actually showed that the data was not circulating on

freely on the Internet, and it showed that Tiversa had in reality been taken the data

from the computers of the legitimate owners or holders of the data. This revelation

created a problem for Sheer, Yodaiken and Settlemyer in that they 1) had a CID

issued that involved innocent parties other than Tiversa, who by all indications was

the party who had stolen the data from the computers of the legitimate holders of the

data; 2) had no case against the companies who held the data; 3) understood that if

the FTC used the data with the original metadata, they would be guilty of having

instituted civil prosecutions based on Constitutional violations; 4) had conspired

with Tiversa to manipulate an investigation, manipulate a CID issuance, and mask

the source of the data through the Privacy Institute; and that 5) in all likelihood

Tiversa had committed cyber-crimes in obtaining the data.

      43.    Rather than reveal the truth about the CID and Tiversa, Sheer instructed

Tiversa to take the Privacy Institute data and remove the metadata, thereby making

it impossible to show from where the data had originated while simultaneously
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making it possible for Sheer, Yodaiken and Settlemyer to continue to use the data to

pursue the companies involved based on false evidence.

      44.    Boback complied with Sheer, Yodaiken and Settlemyer’s request to

falsify the evidence by removing the metadata and returned the materials to the FTC.

      45.    Sheer, Yodaiken and Settlemyer used the manipulated data to proceed

with investigations and the threat of civil prosecution, obtaining thereby numerous

consent decrees.

      46.    Sheer, Yodaiken and Settlemyer knew at all relevant times that The

Privacy Institute had no assets, no employees, no physical location, that it did not

independently hold any documents or files and that the data that had been returned

in response to the CID was altered and false.

 THE FTC-TIVERSA SCHEME CONFRONTS THE PROBLEM of SPREAD

      47.    Sheer and Yodaiken had solved their “source of evidence” dilemma.

They had used the artifice of The Privacy Institute to obtain the data originally

requested from Tiversa, and by having the metadata removed also removed proof

that the data had not in fact circulated on the Internet but, to the contrary, had been

taken from the owners’ computers.

      48.    However, Sheer and Yodaiken quickly realized that another dilemma

needed to be solved. When LabMD was approached by the FTC and offered a

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“consent decree” regarding LabMD data that was alleged to have circulated on the

Internet, Daugherty refused the “offer.”        That meant, in order to continue their

efforts, Sheer and Yodaiken had to satisfy the elements of the basis of their civil suit,

i.e. show that the data had “spread” on the Internet and that damages were therefore

suffered as a result of the “spread.”

      49.    To solve this new problem, Sheer met with Boback and Wallace and

told them that in order for the FTC to investigate and prosecute LabMD the FTC

needed to show “spread,” i.e. that the data had in fact circulated over the Internet.

Sheer made it clear that the evidence provided by Tiversa regarding LabMD needed

to show that the information had actually spread over the internet on P2P networks

as a result of the alleged leak. Sheer indicated he was not interested in evidence that

simply had been leaked but not “spread” and further indicated that if the information

was coming from a U.S. Citizen, the FTC would not use it. Ex. C at 2. Without

evidence of leaks and “spread” it would be difficult, if not impossible, for the FTC

pursue investigations and civil claims without damages.

      50.    Sheer, Yodaiken, and Settlemyer, despite knowing that Tiversa had

been manipulating the files, continued to pressure Tiversa for even more

manipulation to manufacture evidentiary proof of “spread” and be able to show

damages.

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      51.    Boback, in response to this pressure, in turn pressured Wallace into

manipulating document metadata to show that the allegedly leaked information had

“spread” through P2P networks. Wallace was reluctant to manipulate the data and

objected to being forced to lie about his activities.

      52.    Due to Wallace’s increasing reluctance, Boback then directed the FTC

to communicate with Tiversa CFO Dan Kopshak instead of Wallace. Kopshak

began having weekly phone calls with the FTC with Wallace sitting in. Over time

these weekly calls took on a financial aspect with Kopshak inquiring how Tiversa

would be compensated by the FTC for providing a list of companies from which

Tiversa stole files.

      53.    In March 2014 Wallace resigned from Tiversa after being subpoenaed

as a witness and told Boback he would not lie, as instructed by Boback, under oath

to the FTC regarding LabMD’s allegedly leaked file.

      54.    Having confronted and successfully solved with Tiversa the questions

about the legitimacy of the FTC’s activities, Sheer, Settlemyer, Yodaiken and

Tiversa continued their relationship whereby they all benefitted from the activities

of the other.     The FTC was receiving illegally obtained and intentionally

mischaracterized evidence that created a cover of legitimacy for its investigations

and prosecution from Tiversa. In return Tiversa had an outlet to “punish” those who

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rejected Boback’s shakedown overtures and it received insider information that

allowed it to direct its business operations and exploit media coverage to its own

benefit.

      55.      In 2009, subsequent to Tiversa’s turning over its list of 100 companies

to the FTC, Sheer and Yodaiken, in violation of FTC rules, polices, procedures, and

guidance, provided Boback with intimate details about forthcoming investigations.

      56.      Boback used this information for his own purposes, engaging in such

activities as bragging to Tiversa’s business partner, LifeLock, and telling LifeLock

employees the FTC was preparing federal cases against 100 or so companies that

have breached consumer information via P2P, and subsequently warning those same

employees that the FTC letters had not yet gone out, so the companies would not

know what they would be talking about.

      57.      Boback also leveraged the information the FTC illegally provided him

to boost Tiversa’s business prospects by activities such as providing information to

the Washington Post, resulting in an article on detailing a breach of the US House

of Representative’s Ethics Committee’s information via P2P. Boback bragged to

Sheer, Yodaiken, and Settlemyer that he was the undisclosed source for the story

and similarly used the story in an attempt to sell the House Ethics Committee his

bogus services.

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      58.      In the end, the FTC and Tiversa had formed a relationship where the

Sheer, Yodaiken and Settlemyer proactively used Tiversa to pass along stolen

information to them, coached Tiversa on how to make the files it was providing

actionable for the FTC’s usage and then they relied on, and utilized, the fruits of

their coaching and data manipulation where Tiversa provided information to justify

individual company investigations.       For its part, Tiversa used information it

wrongfully obtained from the FTC to advance its own purposes, including, as in the

case of LabMD, to punish those who did not accept its shakedown and create a

climate of fear so others would more readily accept those services.

                           THE FTC ATTACKS LABMD

      59.      In late 2008, in executing its shake-down enterprise, Tiversa hacked

LabMD’s computer network with the FBI’s proprietary software and stole a 1718-

page file (the “1718 File”) containing confidential and legally protected patient

information.

      60.      In 2008, Tiversa contacted LabMD and falsely represented that it found

the 1718 File on the internet and represented it was being shared on the internet.

Boback never returned or offered to return the patient information data Tiversa had

hacked.




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      61.    As part of Tiversa’s usual sales pitch to encourage the purchase of

remediation services, Boback attempted to sell Daugherty Tiversa’s data security

services by falsely representing that it “found” LabMD’s 1718 File spreading over

the internet on P2P networks.

      62.    LabMD’s own cyber-security protocols and specialists investigated the

claim and cast doubt on Boback’s “pitch.” Rather than pay for the “service,”

Daugherty determined that there was no leak, rebuffed the shakedown and declined

Tiversa’s data security services.

      63.    In retaliation for LabMD’s refusal to purchase the bogus services,

Tiversa provided the 1718 File to the FTC as part of the initial data the FTC had

requested from Tiversa. Boback specifically instructed one of his employees to

make sure LabMD was at the top of the list’ of companies given to the FTC.

      64.    Like the other data from the original data Tiversa provided to the FTC,

the original copy of LabMD’s 1718 File that Tiversa provided to the FTC contained

LabMD’s Atlanta IP address, indicating that the file had neither spread over the

internet and that had it actually been taken from LabMD’s computers. After Tiversa

provided the FTC with the 1718 File, Sheer told Tiversa that the file’s metadata

indicated it originated on LabMD’s computer, thereby evidencing Sheer’s




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knowledge, and thereby the FTC’s knowledge, that the LabMD investigation had no

basis in the 1718 file.

       65.   Sheer also informed Tiversa that the original metadata on all the files

provided by Tiversa rendered all the files, including LabMD’s file, non-actionable.

Sheer indicated that Tiversa should strip all the files of their metadata because the

metadata showed that the files originated on the companies’ computers, not

somewhere circulating on the internet -- meaning that the files, including the LabMD

file, were non-actionable and of no use to Sheer. Despite his knowledge, Sheer

continued to take steps to have the proof for the FTC’s claim against LabMD

manipulated, purposely continuing his investigation and later civil prosecution based

on a lie.

       70.   69. Tiversa complied with Sheer’s request and removed the metadata..

In January, 2010, , Sheer had already informed Daugherty that the FTC was

conducting a non-public inquiry into LabMD and that the investigation was

predicated exclusively on the LabMD 1718 File.

       71.   Daugherty knew nothing of the metadata being removed. Nor did Sheer

inform Daugherty that the file had been turned over after Tiversa established a shell

corporation for the FTC and after Sheer had coached Tiversa on how to provide

actionable files, including stripping metadata on the 1718 File’s IP address.

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       72.    Sheer, Yodaiken, and Settlemyer did not alert the full FTC Commission

about its illegal activities. Despite being ignorant of the evidence manipulation, FTC

Commissioner Rosch commented on LabMD’s efforts to quash the investigation and

expressed concerns about Tiversa. Commissioner Rosch warned against relying on

information provided by Tiversa as a basis for the investigation, and based his

comments solely on the fact that Tiversa was more than just an ordinary witness,

informant or ‘whistle-blower,’ but rather was a commercial entity that had a financial

interest in intentionally exposing and capturing sensitive files on computer networks,

and a “business model” of offering its services to help organizations protect against

similar infiltrations.

       73.    Commissioner Rosch was also critical of the fact that after Tiversa’s

alleged “discovery” of the 1718 File on a peer-to-peer network in 2008, Tiversa had

repeatedly solicited LabMD to sell its investigative and remediation services

regarding the alleged breach long before the proffered date that Sheer contacted

LabMD. Commissioner Rosch further advised that under such circumstances the

FTC staff should not have inquired about the 1718 File and should not have relied

on Tiversa for evidence or information.

       74.    Upon information and belief, if Commissioner Rosch had known all the

facts, he would have ended Sheer, Yodaiken, and Settlemyer’s scheme. Despite

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Commissioner Rosch’s comments, however, Sheer, Yodaiken, and Settlemyer

continued their investigation and subsequent prosecution of LabMD despite this

warning.

      75.    To the contrary, Sheer chose to further increase the FTC’s reliance on

Tiversa and persisted in doubling down on his efforts to vigorously pursue the FTC’s

administrative investigation.

      76.    In a public announcement on August 28, 2013, FTC cited the stolen and

manipulated 1718 File, as “evidence” and the basis for a civil complaint and

commenced its civil prosecution alleging that LabMD violated Section 5(a) of the

FTC Act.

      77.    To bolster the FTC’s position in the complaint proceeding, Boback later

directed Wallace in October 2013 to create a “txt file” to show four San Diego,

California IP addresses on the 1718 File to falsely demonstrate “spread.” Boback

personally selected the IP addresses to be used to show the file was “found” in

California, and then Sheer relied on Boback’s testimony to claim that the 1718 File

had been found on a public P2P network as recently as November 2013.

      78.    Sheer Yodaiken, Settlemyer and others at the FTC intentionally

continued the FTC’s civil prosecution of LabMD aware that the 1718 File evidence

was again fraudulently altered and they pursued the case with the knowledge that

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the FTC had been, and continued to be, working closely with Tiversa and supporting

Tiversa’s illegal shake down scheme. Despite this, Sheer, Yodaiken, Settlemyer and

others never disclosed the true nature of the previously questioned relationship with

Tiversa and continued to conceal Tiversa’s illegal activities, which were much more

sinister than Commissioner Rosch had speculated. Specifically Sheer, Yodaiken,

Settlemyer and others actively, among other actions:

      a)     accepted data from Tiversa via The Privacy Institute knowing that

Tiversa removed the metadata to cover up the source of the materials;

      b)     knew the 1718 File was not actionable because the original metadata

indicated the file never left LabMD’s computer and further knew that the metadata

was falsified to justify the FTC’s continued prosecution of its investigation and civil

action against LabMD;

      c)     had coached Tiversa to manufacture the evidence of “spread” on the

internet which occurred in 2013;

      d)     knowingly used fraudulently evidence to 1) form the basis of an official

FTC investigation, 2) justify to the Federal Trade Commission a basis for the civil

prosecution of LabMD, and 3) vigorously pursued civil prosecution at all levels; and

      e)     took Boback’s deposition in the LabMD proceeding so as to manipulate

his testimony and put sworn testimony on the case record knowing at all times that

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the information was calculated to mislead and lacked candor, including the

complicity among the FTC, Boback and Tiversa about the manufactured evidence;

and

      f)     understood and intended that their continued effort to investigate and

prosecute LabMD meant the destruction of LabMD as a continuing enterprise.

       THE IMPORTANCE OF RICHARD WALLACE’S TESTIMONY

      79.    The FTC took advantage of one additional opportunity to keep secret

the illegal roots of its civil investigation and prosecution of LabMD.

      80.    When Boback applied pressure to Wallace to lie about Tiversa’s

scheme, Wallace left Tiversa’s employ and revealed to LabMD some of the facts of

Tiversa’s illegal activity. LabMD then arranged for Wallace to give testimony before

the FTC Chief Administrative Law Judge but Wallace required a grant of immunity

from the Justice Department before he would testify.

      81.    Wallace had sought to hire Mary Beth Buchanan, the former US

Attorney for the Western District of Pennsylvania who was responsible for Tiversa’s

ability to possess and illegally use the FBI proprietary internet search software, to

represent him in his testimony in the FTC administrative proceeding.

      82.    The Justice Department did give Wallace immunity for the matters

about which he would testify but not for information about which he would not

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testify. Wallace’s interests, therefore, aligned with his full disclosure of all facts

regarding Tiversa. Full disclosure would also have been in LabMD’s interests but

not in the interests of the FTC or Wallace’s then attorney Buchanan.

       83.    Buchanan had accepted the representation of Wallace despite Tiversa’s

had been her vendor, despite Tiversa’s misuse of the FBI software Buchanan

provided to Tiversa while she was serving as the US Attorney and despite the

acceptance was in violation of the law. In addition, Buchanan had been responsible

to properly supervise Tiversa’s use of the FBI software and certainly not to allow it

to be used for the illegal activities about which she was now representing Wallace.

       84.    Buchanan never explained this conflict to Wallace and yet Wallace

revealed the entire situation to Buchanan. This disclosure by Wallace would have

made obvious to Buchanan that she bore responsibility for those activities.

       85.    When Wallace received the requested qualified immunity tied to his

testimony, he was prepared to tell the FTC the entre truth about his and Tiversa’s

activities.

       86.    Despite her own conflict to not revealing the full truth of Wallace and

Tiversa’s unlawful behavior, and her role in facilitating that activity, Buchanan

retained the Wallace representation.




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      87.    On April 29, 2015, shortly before Wallace’s testimony, Buchanan

undertook on her own to meet with the individuals from the FTC who were

prosecuting the case against LabMD and who also were aware of Tiversa and

Wallace’s illegal activities and the FTC’s role in those activities.

      88.    The FTC was represented at the meeting with Buchanan by several

high-ranking FTC officials, including:

      - Laura VanDruff, Lead Complaint Counsel;

      - Jarad Brown, Complaint Counsel;

      -Robert Kaye, Chief Litigation Counsel for the Bureau of Consumer
Protection;

      -Bob Schoshinski, Assistant Director, Division of Privacy and Identity
Protection;

      -Dan Kauffamn, Deputy Director, Bureau of Consumer Protection; and

      -Christopher Olsen, Deputy Director, Bureau of Consumer Protection

      89.    For unconfirmed reasons Buchanan made a proffer of Wallace’s

evidence at the meeting regarding Wallace’s upcoming testimony. This proffer

however, was unnecessary because (1) Wallace had already received a grant of

criminal immunity to the extent of his testimony, and (2) there was no legitimate

reason to discuss her client’s anticipated testimony with the FTC, especially without

participation by LabMD’s counsel.


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      90.    Buchanan and the FTC did have a common reason to limit Wallace’s

testimony, however, because of the consequences to each of them that exposure of

the truth would bring.

      91.    At the meeting Buchanan also agreed with the FTC that she would

handle the anticipated re-direct examination of Wallace, the extent of which would

cover the grant of immunity. In fact, it was in the collective interests of Buchanan

and the FTC to limit the testimony of Wallace so as to not implicate either Buchanan

or the FTC investigators and attorneys.

      92.    Buchanan did not inform, or coordinate, this strategy with Plaintiff’s

counsel prior to securing the FTC’s permission, nor did she disclose to them the role

that she, the US Attorney’s office and the FBI had played in facilitating the execution

of Tiversa’s shakedown scheme and use of the FTC to enhance the effect of that

scheme.

      93.    In fact, the results of Buchanan’s meeting with the FTC and the limited

agreed proffer regarding his testimony ensured that Wallace’s testimony would not

disclose that Wallace had found the 1718 File with proprietary FBI surveillance

software or that the FTC had cooperated with Tiversa to justify the FTC’s

investigation and prosecution of LabMD. D




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      94.    At no time did Buchanan ever inform LabMD’s counsel of the

foregoing information regarding Tiversa and the FBI, which perfectly aligned

Buchanan’s interests with the FTC’s interests.

      95.    Buchanan’s meeting further ensured that Buchanan and the FTC would

have continuing control over Wallace in discouraging him to reveal the truth about

the US Attorney and FBI’s involvement because Wallace’s immunity would not

cover the areas Buchanan and the FTC agreed would be left out of Wallace’s

testimony.

      96.    Buchanan’s conflict also meant that Buchanan’s motivation to help

Wallace as a client was compromised because her interest would be to protect her

personal legacy as an aggressive U.S. Attorney, protect the FTC’s activity from

exposure to the public and keep the fact that her office was responsible for Tiversa’s

criminal enterprise out of the public arena.

      97.    Buchanan also had knowledge sufficient to conclude that when

Tiversa’s illegal scheme was publicly exposed it could also call in to question any

convictions that relied on evidence obtained by Tiversa and destroy her legacy.

         FTC PERSISTS IN CONTINUING ITS ILLEGAL EFFORTS

      98.    The FTC, as an independent agency of the United States, concealed the

true nature of its activities from its own Office of Administrative Law Judges, in

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particular Chief Administrative Law Judge Chappell, during the administrative

hearing on its complaint against LabMD.

      99.    The FTC, as an independent agency of the United States through Sheer,

Yodaiken and Settlemyer and others, concealed the true nature of the FTC’s

activities involving Tiversa from its own Commissioners, who noted that if there had

been evidence that Tiversa acted as an “agent” or “adjunct” of the FTC in obtaining

the 1718 file, the circumstances supporting the Commission’s reversal of the ALJ

decision would have been different.

      100. The FTC, as an independent agency of the United States through Sheer,

Yodaiken and Settlemyer and others, misrepresented the truth and continued to

conceal the true nature of its activities from the United States Court of Appeals for

the Eleventh Circuit and the Eleventh Circuit’s Special Master, Magistrate Judge

Walter Johnson of the United States District Court for the Northern District of

Georgia in the appeal proceedings before those judicial bodies.

      101. Through Sheer, Yodaiken, Settlemyer, and others, the FTC persisted

in attempts to conceal the truth about fraudulent investigation and prosecution of

LabMD at every possible level up to and including proceedings before the United

States Court of Appeals for the Eleventh Circuit.




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                COUNT ONE – MALICIOUS PROSECUTION

      102. Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

      103. The FTC and its officers are empowered by law to (1) execute searches

and (2) seize evidence, qualifying the FTC as a law enforcement agency under the

FTCA.

      104. The elements of malicious use are “malice, lack of probable cause, and

termination of the proceeding in favor of the party who seeks to charge another with

malicious use.” See Taylor v. Greiner, 247 Ga. 526 (277 SE2d 13) (1981).

      105. In Georgia, malicious use “lies for maliciously suing out civil process

without probable cause.” Ferguson v. Atlantic Land Corp., 248 Ga. 69, 71 (281 SE2d

545) (1981).

      106. There was no probable cause under the law to initiate the investigation

of LabMD; for continuing the investigation of LabMD; and for the continuous resort

to all available means to civilly prosecute LabMD.

      107. There was no lawful basis for initiating the investigation against

LabMD; for continuing the investigation of LabMD; and for the continuous resort

to all available means to civilly prosecute LabMD




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      108. FTC acted improperly because it lacked the requisite statutory authority

to conduct its investigation of LabMD or to initiate and pursue any civil enforcement

action against LabMD.

      109. The FTC proceeded against Daugherty without probable cause.

      110. Georgia law defines malice as “Malice consists in personal spite or in

a general disregard of the right consideration of mankind, directed by chance against

the individual injured.” O.C.G.A. 51-7-2 (2010).

      111. The FTC has no discretion that allows the initiation of an investigation

justified by unlawful behavior creating a pretext of probable cause; that allows the

continuation of an investigation by unlawfully fabricating evidence to create

probable cause; or that allows the pursuit of a civil prosecution without probable

cause based on fabricated evidence misrepresented to judicial authorities. To do so

constitutes a blatant disregard of LabMD and Michael J Daugherty’s rights and well-

being directed specifically at abridging those rights and that well-being.

      112. The FTC is accustomed to receiving signed consent decrees from the

parties it investigates. 2 When Mr. Daugherty, knowing he did nothing wrong,



2
  See Dune Lawrence, A Leak Wound This Company. Fighting Feds Finished It Off,
Bloomberg (April 25, 2016), https://www.bloomberg.com/features/2016-labmd-ftc-
tiversa/ (“the FTC also applies Section 5 to information security, . . .[and] reached
its first settlement in this area in 2000. . . . Since then, the commission has brought
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refused to sign a consent decree, the FTC acted purposely and with malice by

unlawfully unleashing the whole scope of its investigative powers, without authority

or discretion for the unlawful manner it exercised those powers and created and

utilized fraudulent evidence, to punish Mr. Daugherty and LabMD in an unjustified

attempt to force a signed consent decree. Since the FTC’s investigation was

extreme,3 unlawful and motivated solely to punish Mr. Daugherty’s unwillingness

to confess to an offense he did not commit, the FTC was clearly acting purposefully

and with malice.

      113. The FTC acted with malice when the FTC employees, without any

substantial justification, willfully and intentionally disregarded and exceeded their

legitimate regulatory authority to fabricate an illegal investigation of LabMD and

then engage it, with further illegal activity, in a protracted civil prosecution based on

illegally obtained information and falsely justified by fraudulently information

presented to judicial authorities, starting with the FTC’s own office of




more than 60 cases related to data security. In all but one, the companies involved
have . . . sign[ed] consent decrees . . .”).
3
  Id. (“In a three-hour period on Oct. 24, 2013, commission lawyers sent notice of
20 depositions to be taken in various parts of the country, initially all scheduled at
the same time on the same day.”).

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Administrative Law Judges and through the United States Court of Appeals for the

Eleventh Circuit.

      114. The FTC lacked probable cause to proceed against Daugherty, and

instead resorted to fabricating evidence. Sheer instructed Tiversa, with unlawful

intent, to take the Privacy Institute data and remove metadata, intentionally making

it impossible to show from where the data had originated and simultaneously making

it possible for Sheer, Yodaiken and Settlemyer to continue to use the data to pursue

various targets based on false evidence.

      115. Daugherty and LabMD were completely exonerated by the United

States Court of Appeals for the Eleventh Circuit, a branch of the United States

government, which noted “LabMD was not a plaintiff who only obtained limited

success against the government. LabMD was a defendant who obtained complete

success defending itself from the government.”

      116. The actual damages incurred by Daugherty include the economic

destruction of LabMD as a going concern business and the unnecessary costs in

pursuing the baseless FTC action, in an amount to be determined at trial.

                    COUNT TWO – ABUSE OF PROCESS

      117. Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

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      118. The FTC and its officers are empowered by law to (1) execute searches

and to (2) seize evidence, qualifying it as a law enforcement agency under the FTCA.

      119. Georgia requires that “To state a claim for malicious abuse, we have

required the claimant to show the existence of an ulterior motive, and an act in the

use of the process not proper in the regular prosecution of the proceeding.”

      120. The FTC demonstrated ulterior motives in initiating and pursuing a

civil action against LabMD, including but not limited to its intent to aggrandize its

reputation and the individual reputations of its attorneys at the expense of lawful

prerequisites and lawful FTC procedure; to rely on illegal means to intimidate

similarly situated individuals and companies; and to retaliate against Daugherty and

LabMD for refusing to sign a proposed Consent Decree. Additionally, the FTC’s

motives included its intent to violate Daugherty’s First Amendment rights by

attempts to prevent him from publishing a book describing the FTC’s actions.

      121. The FTC’s “act in the use of the process not proper in the regular

prosecution of the proceeding,” included the illegally based investigation; illegal

fabrication of evidence; misrepresentation to judicial authorities and subsequent

relentless litigation, which the FTC knew was solely based on information illegally

obtained and fraudulently presented.




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      122. The actual damages incurred by Daugherty include the economic

destruction of LabMD as a going concern business and the unnecessary costs in

pursuing the baseless FTC action, in an amount to be determined at trial.

                       COUNT THREE - NEGLIGENCE

      123. Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

      124. The Court of Appeals of Georgia outlined the elements for a prima facie

case of negligence in Johnson v. American National Red Cross as follows: “(1) a

legal duty to conform to a standard of conduct; (2) a breach of this duty; (3) a causal

connection between the conduct and the resulting injury; and (4) damage to the

plaintiff.” Johnson, 569 S.E.2d 242, 247 (Ga. App. 2002).

      125. The FTC has a nondiscretionary legal duty to conform its investigations

to a defined standard of conduct and properly supervise the activities of its

employees.

      126. The FTC breached that duty when it acted failed to properly supervise

its employees who, as a direct and proximate result of such failure of supervision,

conducted an illegal investigation of LabMD.         The FTC’s supervision of the

investigation and prosecution of LabMD did not meet the required non-discretionary

applicable standards. As employees of the agency entrusted with regulating unfair

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business practices within the United States the employees and agents of the FTC

should have been aware of the scope of their regulatory authority and the nature of

the individuals’ acts conducting the investigation and prosecution of LabMD. In

pursuing allegedly unfair business practices charges without justifying those

practices alleged to be unfair, not supervising the activities that resulted in the

charges against LabMD, and subsequently ordering a remedy that was equally broad

and unspecific, the FTC acted negligently which proximately caused an illegal

investigation, an abuse of regulatory powers and consequent damage to Daugherty

and LabMD.

      127. The FTC pursued its investigation, and subsequent litigation, based on

its employee’s illegal modification of a copy of the 1718-File Tiversa provided it

after stripping the meta-data.    Tiversa only stripped the metadata after Sheer

informed it that the original file indicated the LabMD computer as the original point

and that, to be actionable, the file needed to show it was spreading on P2P networks

and consequent damages. At critical points during the investigation and prosecution

of LabMD, the FTC had enough knowledge to exercise more supervision of its

employees, but failed to do so. The FTC’s failure to properly conduct its

investigation and its failure to properly supervise its employees allowed those

employees to act outside the FTC’s regulatory authority and the legal requirements

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that applied to its activities, proximately causing serious damage to LabMD and

Daugherty.

      128. Daugherty and LabMD were harmed by the FTC’s negligence which

resulted in the complete reputational and financial destruction of LabMD.

        COUNT FOUR – VIOLATION OF FOURTH AMENDMENT

      129. Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

      130. The Fourth Amendment of the U.S. Constitution protects citizens –

including companies – from unreasonable searches and seizures.

      131. The U.S. government cannot invade the personal computers of private

citizens and companies without a search warrant issued by a court.

      132. The FTC directed the invasion of privacy of Daugherty by overseeing

the break-in of the LabMD computer, the theft of the file, and the stripping of the

metadata.

            COUNT FIVE – VIOLATION OF FIRST AMENDMENT

      133. Plaintiff incorporates by reference the allegations in the preceding

paragraphs.

      134. Pre-publication censorship violates the First Amendment of the United

States Constitution.

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      135. Retaliation for publishing a book via litigation and investigation

violates the First Amendment of the United States Constitution.

      136. The FTC’s motives included its intent to violate Daugherty’s First

Amendment rights by attempts to prevent him from publishing a book describing the

FTC’s actions.

                            PRAYER FOR RELIEF

      Whereas Plaintiff prays for a compensatory damages award of Four Hundred

Million Dollars for Daugherty’s damages resulting from Defendant’s malicious

abuse of process, malicious use of process, negligence and negligent supervision of

employees.

      This 25th day of August 2021.

                                                   BROWN LAW, LLC

                                                         /s/
                                                   Heather D. Brown, Esquire
                                                   Georgia Bar Number 100169
                                                   Attorneys for Plaintiff

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